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 4
     Attorney for Defendant: JAMEL GILL
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 7
                         IN THE UNITED STATES DISTRICT COURT
 8
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,                     )        Crim. S 07-126 EJG
11                                                 )
                                      Plaintiff,   )          (Amended)
12                                                 )    STIPULATION AND ORDER
                          v.                       )          THEREON
13                                                 )
     JAMEL GILL,                                    )   (Continuing Status to 3/14/08)
14                                                 )
                                 Defendant,        )
15                                                 )
16         It is hereby stipulated between counsel for the government and the defendants that
17   the status conference presently scheduled for March 7, 2008 may be continued to March
18   14, 2008 at 9;00 a.m. This continuance is requested to allow defense counsel additional
19   time to prepare.
20   It is further stipulated that the time between December 14, 2007 and January 18,
21   2008 can appropriately be excluded from the Speedy Trial Act pursuant to 18 USC §
22   18 USC § 3161(h)(8)(B)(iv) (Local Code T-4).
23
24   Dated: February 29, 2008                            Dated: February 29, 2008
25   / s / Jill Thomas                                   / s / Steven D. Bauer
26   JILL THOMAS                                          STEVEN D. BAUER
     Assistant United States Attorney                     Attorney for Defendant
27
28 (Additional Signatures and Order on Following Page)
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 1 Dated: February 29, 2008
 2
     / s / Shari Rusk
 3 SHARI RUSK
     Attorney for Defendant
 4
     For Good Cause Appearing
 5 IT IS SO ORDERED
     Dated: March 3, 2008
 6
 7 /s/ Edward J. Garcia
 8 EDWARD J. GARCIA
     U. S. District Judge
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